        Case 5:19-cv-01298-LCB          Document 18       Filed 01/25/21      Page 1 of 1              FILED
                                                                                              2021 Jan-25 AM 10:57
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHEASTERN DIVISION

JOHN SMITH,                                          )
                                                     )
        Plaintiff,                                   )
                                                     )
v.                                                   )      Case No.: 5:19-cv-01298-LCB
                                                     )
G&G QUICK STOP, LLC, ET AL.,                         )
                                                     )
        Defendants.                                  )

                                    NOTICE OF DISMISSAL

        COMES NOW Plaintiff, John Smith (“Plaintiff”), by and through his undersigned

counsel, and pursuant to Rule 41(a)(1)(A)(i) Fed. R. Civ. P., hereby files this Notice of Dismissal

of this action without prejudice.

     WHEREFORE, premises considered, Plaintiff hereby files this Notice of Dismissal of this

action without prejudice.

     Respectfully Submitted, this the 25th day of January 2021.

                                                     /s/ Cassie E. Taylor
                                                     Cassie E. Taylor
                                                     ASB-8297-N67R
                                                     ADA Group LLC
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